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 7
                            UNITED STATES DISTRICT COURT
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                           NORTHERN DISTRICT OF CALIFORNIA
 9                               OAKLAND DIVISION

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     IRONWORKS PATENTS LLC,                  CASE NO. 4:17-cv-01958-HSG
11
                   Plaintiff,                ORDER GRANTING JOINT MOTION
12                                           FOR ENTRY OF FINAL JUDGMENT
          vs.
13
     SAMSUNG ELECTRONICS CO., LTD., and
14   SAMSUNG ELECTRONICS AMERICA,
     INC.,
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                   Defendants.
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                                                 ORDER GRANTING JOINT MOTION
     CASE NO. 4:17-cv-01958-HSG                           FOR ENTRY OF FINAL
                                                                   JUDGMENT
       Case 4:17-cv-01958-HSG Document 173 Filed 11/15/18 Page 2 of 2



 1          Before the Court is the Parties’ Joint Stipulation and Motion for Entry of Final Judgment.
 2   Having considered said motion and all other papers filed in support thereof, the Court finds that
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     the stipulation is well taken and is hereby GRANTED.
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            Accordingly,
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            1.      The Court finds that, based on the Claim Construction Order of October 26, 2018
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 7   [Dkt. 166] and the Parties’ Joint Stipulation, Defendants do not infringe the asserted claims of

 8   U.S. Patent Nos. 6,427,078 (“the ’078 Patent”) and 5,915,239 (“the ’239 Patent”) and that the

 9   asserted claims of the ’239 Patent are invalid as indefinite;
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            2.      Final Judgment is entered in favor of Defendants Samsung Electronics Co., Ltd.
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     and Samsung Electronics America, Inc. on Plaintiff’s claims and Defendants’ counterclaims for
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     declaratory judgment of invalidity of the ’239 Patent and non-infringement of the ’078 and ’239
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     Patents; and
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15          3.      The time for filing a bill of costs or a motion for attorney fees under any basis,

16   including 35 U.S.C. § 285, Fed. R. Civ. P. 54(d), and Local Rule CV-54, is extended until thirty
17   days after the Federal Circuit’s issuance of the mandate regarding Ironworks’ appeal of this
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     Court’s final judgment or thirty days after the time to file an appeal has expired.
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20          IT IS SO ORDERED.

21
            November14,
     DATED: November 15,2018
                         2018
22                                                   HAYWOOD S. GILLIAM, JR.
                                                     United States District Judge
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                                                                         ORDER GRANTING JOINT
     CASE NO. 4:17-cv-01958-HSG                       -1-            MOTION FOR ENTRY OF FINAL
                                                                                    JUDGMENT
